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 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10   UNITED STATES OF AMERICA,

11                  Respondent,                            No. CR S-02-104 LKK GGH P

12          vs.

13   ANTONIO MENDOZA-GONZALEZ,

14                  Movant.                                ORDER

15                                                /

16                  Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set

17   aside or correct his sentence pursuant to 28 U.S.C. § 2255. The matter was referred to a United

18   States Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local General Order No. 262.

19                  On January 5, 2006, the magistrate judge filed findings and recommendations

20   herein which were served on movant and which contained notice to movant that any objections

21   to the findings and recommendations were to be filed within twenty days. Movant has not filed

22   objections to the findings and recommendations.

23                  Although it appears from the file that movant’s copy of the findings and

24   recommendations were returned, movant was properly served. It is the movant’s responsibility

25   to keep the court apprised of his current address at all times. Pursuant to Local Rule 83-182(f),

26   service of documents at the record address of the party is fully effective.

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 1                  The court has reviewed the file and finds the findings and recommendations to be

 2   supported by the record and by the magistrate judge’s analysis. Accordingly, IT IS HEREBY

 3   ORDERED that:

 4                  1. The findings and recommendations filed January 5, 2006, are adopted in full;

 5                  2. This action is dismissed for movant’s failure to keep the court apprised of his

 6   current address (see Local Rules 83-182(f) and 11-110); and

 7                  3. The Clerk of the Court is directed to close the companion civil case No. CIV-

 8   S-05-1385 LKK GGH.

 9   DATED: July 25, 2006.

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                                                          UNITED STATES DISTRICT JUDGE
12   mend0104.802

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